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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 14-cr-20427

v.                                                          Honorable Thomas L. Ludington

D-5 MELVIN ANDREW MORRIS,

                      Defendant.

_______________________________________/

      ORDER GRANTING MOTION TO STRIKE, STRIKING DOCUMENT, AND
                        DIRECTING SERVICE

       On November 3, 2015, Defendant Melvin Morris filed a document by mail titled “Local

Criminal Rule 47. Motions[.]” See Def.’s Mot., ECF No. 177 (sic to formatting). The document

is of poor quality and is barely legible. It was filed directly with the Clerk of Court by Morris.

Morris is currently represented by counsel. The Government moved to strike the document and

Morris’s counsel concurred in the relief sought. See Gov’t’s Mot. Strike, ECF No. 178.

       “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Lowdermilk, 425 F. App’x 500, 504 (6th Cir. 2011) (quoting United States v. Cromer,

389 F.3d 662, 681 n.12 (6th Cir.2004)) (internal quotation marks omitted). Absent any proof that

Mr. Jacobs, Morris’s counsel in this matter, is not able and competent to represent him, pro se

appearances will not be entertained. See Lowdermilk, 425 F. App’x at 504 (finding no abuse of

discretion in denying hybrid representation where defendant’s lawyer was “competent and

capable.”) Generally, litigants must choose between proceeding pro se and proceeding with

counsel. United States v. Mosely, 810 F.2d 93, 97 (6th Cir. 1987) (quoting United States v.

Conder, 423 F.2d 904, 908 (6th Cir. 1970). The choice of one means of representation precludes
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reliance on the other. Id. Permitting deviation from this rule “is a matter committed to the sound

discretion of the trial court.” Id. Morris has presented no proof that his defense will be

compromised if he is not allowed to proceed pro se, or that his counsel is deficient in

representing him. His document will be stricken.

       Morris has already requested the substitution of one attorney. That request was granted.

He will not be given another attorney absent a compelling showing of good cause. His final

pretrial conference is scheduled for November 18, 2015 and his trial is set to commence on

December 1, 2015. He is forewarned against attempting to delay the current proceedings by

requesting new counsel.

       Accordingly, it is ORDERED that the Government’s motion to strike, ECF No. 178, is

GRANTED.

       It is further ORDERED that the Defendant Melvin Morris’s document titled “Local

Criminal Rule 47. Motions,” ECF No. 177, is STRICKEN.

       It is further ORDERED that Defendant Morris’s attorney, Stevens Jacobs, is

DIRECTED to serve a copy of this order on Defendant Morris on or before November 18,

2015 and file a proof of service on the Court’s docket.



Dated: November 16, 2015                                            s/Thomas L. Ludington
                                                                    THOMAS L. LUDINGTON
                                                                    United States District Judge


                                                   PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on November 16, 2015.

                                                            s/Michael A. Sian
                                                            MICHAEL A. SIAN, Case Manager




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